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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,                              Crim. 19cr00305(1) PAM/BRT

                      Plaintiff,
v.

(1) Neeraj Chopra,

                       Defendant.
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                ORDER OF RECUSAL AND DIRECTION TO THE
               CLERK OF COURT FOR REASSIGNMENT OF CASE


       The above-captioned case has been assigned to the undersigned, a Judge of the
above Court. Pursuant to Title 28, United States Code, Section 455, the undersigned
recuses himself from hearing this matter. Accordingly,

       IT IS HEREBY ORDERED pursuant to this Court's Assignment of Cases Order
filed December 19, 2008 the above captioned action shall be resubmitted to the Clerk of
Court for reassignment on the Master Criminal Assignment List.




DATED: November 25, 2019

                                                       s/Paul A. Magnuson
                                                       Paul A. Magnuson, Judge
                                                       United States District Court
